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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                       Western Division
                                      Office of the Clerk

Wendy R. Oliver, Clerk                                                               Deputy-in-Charge
242 Federal Building                                                        U.S. Courthouse, Room 262
167 N. Main Street                                                          111 South Highland Avenue
Memphis, Tennessee 38103                                                      Jackson, Tennessee 38301
(901) 495-1200                                                                          (731) 421-9200


                                      NOTICE OF SETTING
                  Before Chief Judge Sheryl H. Lipman, United States District Judge



                                           March 13, 2024

            RE:    2:23-cv-2785-SHL
                   Robert Bruce v University of Tennessee

            Dear Sir/Madam:

            A NON-JURY TRIAL has been SET before Chief Judge Sheryl H. Lipman on
     MONDAY, APRIL 28, 2025 at 9:30 A.M. in Courtroom No. 1, 11th floor of the Federal
     Building, Memphis, Tennessee.

            A PRETRIAL CONFERENCE will be held on FRIDAY, APRIL 18, 2025 at
     10:00 A.M. in Courtroom No. 1, 11th floor of the Federal Building, Memphis, Tennessee.

          A PROPOSED JOINT PRETRIAL ORDER must be furnished to the Court by
     APRIL 11, 2025.

            PLEASE SEE ATTACHED INSTRUCTIONS.

            If you have any questions, please contact the case manager at the telephone number or
     email address provided below.

                                        Sincerely,
                                        WENDY R. OLIVER, CLERK
                                        BY: s/Melanie Mullen,
                                               Case Manager for Chief Judge Sheryl H. Lipman
                                               901-495-1255
                                               melanie_mullen@tnwd.uscourts.gov
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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                   Office of the Clerk


                        PRETRIAL PROCEDURES: Non-Jury Trials

Prior to the pretrial conference, counsel must do the following:

A.     Complete all discovery.

B.      Exchange information as to the ultimate issues of law and fact, eliminate unnecessary or
irrelevant issues that appear in the pleadings or discovery, arrive at all possible stipulations, and
exchange documents and exhibits which will be offered in evidence at trial.

C.      Two weeks before the trial, file Motions in Limine. Responses are due five (5) days
after the Motion is filed.

D.     One week before the pretrial conference, separately submit proposed findings of fact and
conclusions of law. See Local Rule 16.4.

E.      Also, one week before the trial, submit a single proposed Joint Pretrial Order that covers
the items listed below. If unable to agree, submit a proposed joint pre-trial order including all
matters agreed upon and a list specifying items of disagreement. Plaintiff=s attorney is
responsible for initiating the proposed pretrial order. All counsel are responsible for ensuring
the proposed pretrial order is timely filed. The proposed pretrial order shall contain the
following:

       1.      In the caption, a complete listing of all parties who remain in the case as of the
               date the document is filed. Do not use "et al."

       2.      Any remaining jurisdictional questions and the parties’ positions on the issues;

       3.      A list of pending motions;

       4.      The respective contentions of the parties, including contentions as to liability and
               the nature and amount of damages;

       5.      A statement of uncontested facts (possible sources include the pleadings,
               discovery, or admission of counsel);

       6.      An agreed-upon list of contested issues of fact that explain the nature of the
               parties’ dispute;
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     7.    An agreed-upon list of contested issues of law, such as negligence, contributory
           negligence, etc., that will govern the trial. This is not to be a restatement of the
           disputed facts. If either party insists on a triable issue, include it in the pretrial
           order as a triable issue unless the court decides otherwise at the pretrial
           conference.

     8.    A list of exhibits (except documents for impeachment only) to be offered in
           evidence by the parties, and, to the extent possible, a stipulation on their
           admissibility. If the parties cannot stipulate, then the objections must be noted in
           the proposed pretrial order. To the extent possible, objections shall be ruled on at
           the pretrial conference.

           The parties are expected to have complied with Federal Rules of Civil Procedure
           26(a)(3)(C) on pretrial disclosures. That rule requires disclosures of witnesses,
           deposition testimony, and exhibits, (other than impeachment evidence), to the
           opposing counsel thirty days before trial. Within fourteen days thereafter, the
           opposing party must serve and file a list disclosing any objection, together with
           the grounds therefor, to the admissibility of any exhibit, deposition testimony, or
           witness testimony.

           Before the conference, each party shall furnish to the other party for copying and
           inspection all exhibits which are to be offered in evidence.

     9.    A list of witnesses, indicating those who will be called, in the absence of
           reasonable notice to opposing counsel to the contrary, and those who only may be
           called. Any objection to a witness must be noted in the proposed joint pretrial
           order. If any Rule 702 (Aexpert@) witnesses, including treating physicians who
           will give expert testimony, are listed, the witness shall be identified as such, along
           with the subject matter of the expert testimony. Opposing counsel shall specify
           any objection to the witness=s expertise or testimony in the proposed joint pretrial
           order. To the extent possible, objections will be ruled on at the pretrial
           conference.

           Deposition testimony to be offered at trial, and the basis for allowing such
           testimony. If a party desires to offer deposition testimony into evidence at the
           trial, s/he shall designate only those relevant portions to be read. All objections
           to any such testimony must be noted in the proposed joint pretrial document so
           that the court may rule prior to trial. To the extent possible, objections will be
           ruled on at the pretrial conference.

     10.   An estimate of the length of the trial.

     11.   The amount of the ascertainable damages. The listing of the amount of damages
           shall not constitute an agreement as to the recoverability of same unless so stated.

     12.   The names of all attorneys interested in the case and copies of all interested
           firms= letterheads.

     13.   A list of any special equipment such as video cassette recorders, overhead
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            projectors, easels, computers, etc. that the parties intend to bring for use at the
            trial. (The court provides a presentation system including counsel table monitors,
            witness monitor, an HD ceiling projector, a 75-inch HD television monitor for the
            jury, a document camera, and a video distribution system for these
            components. The court does not provide personal computers or laptops to
            counsel, however, at the Court's discretion, counsel may access the video
            distribution system with their own laptops to disseminate computer generated
            evidence. Connection types are HDMI, lightning, display port, mini display port,
            and USB-C.)

     ALL ATTORNEYS WHO WILL TRY THE CASE ARE REQUIRED TO ATTEND
     THE PRETRIAL CONFERENCE. The parties are not required to attend the conference.
      The attorneys will be generally familiar with pretrial procedures and come to the
     conference with full authority to accomplish the purpose of the conference, which is to
     simplify and define the triable issues, expedite the trial, and save expense. At the
     conference, counsel will report to the Court the prospects of settlement. For a discussion
     of pretrial conferences, see 23 Federal Rules Decisions 129-138.

     If an attorney fails to appear at the pretrial conference or to comply with these directions
     set forth herein, an ex parte hearing may be held and judgment of dismissal or default or
     other appropriate sanctions entered.

     After the pretrial conference, the Court will enter a Pretrial Order which shall govern the
     conduct at trial and will constitute the final statement of the issues involved.

     These procedures apply to pro se litigants as well as attorneys.
